                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MISSOURI

JOSHUA SITZER AND AMY            )
WINGER, SCOTT AND RHONDA         )
BURNETT, AND RYAN                )
HEDRICKSON, on behalf of         )
themselves and all others similarly situated,
                                 )
                                 )
       Plaintiffs,               )
                                 )                    Case No: 4:19-cv-00332-SRB
                                 )
v.                               )
THE NATIONAL ASSOCIATION OF      )
REALTORS, REALOGY HOLDINGS       )
CORP., HOMESERVICES OF AMERICA, )
INC., BHH AFFILIATIES, LLC, HSF  )
AFFILIATES, LLC, THE LONG &      )
FOSTER COMPANIES, INC., RE/MAX, )
LLC, and KELLER WILLIAMS REALTY, )
INC.                             )
                                 )
       Defendants.               )

CONSENT MOTION FOR EXTENSION OF TIME FOR DEFENDANTS RE/MAX, LLC,
  THE NATIONAL ASSOCIATION OF REALTORS, KELLER WILLAMS REALTY,
INC. AND REALOGY HOLDINGS CORP. TO FILE THEIR REPLY SUGGESTIONS IN
            SUPPORT OF MOTION TO COMPEL ARBITRATION

         Defendants RE/MAX, LLC, The National Association of Realtors, Keller

  Williams Realty, Inc. and Realogy Holdings Corp. (the “moving parties”) respectfully

  request that this Court enter an Order extending until Thursday, July 7, 2022, the time to

  file their reply in support of its Motion to Compel Arbitration or, in the Alternative, to

  Stay Proceedings Pending Arbitration (“Motion to Compel Arbitration”).


         For their suggestions in support of this Consent Motion, the moving parties state

  as follows:




         Case 4:19-cv-00332-SRB Document 818 Filed 06/29/22 Page 1 of 4
       1.      The moving parties filed their Motion to Compel Arbitration on May 27, 2022

[DOC 784 and 785].

       2.      Plaintiffs filed their Suggestions in Opposition to the Motion to Compel on June

16, 2022, after receiving a brief extension of time to do so (which the moving parties consented

to).

       3.      The moving parties’ reply suggestions are currently due tomorrow, June 30, 2022.

       4.      The moving parties request an additional seven days to finalize their reply

suggestions, through July 7, 2022. No prior extensions of this deadline have been requested.

       5.      Counsel for RE/MAX consulted with counsel for Plaintiffs, who do not oppose

the requested extension of time.

       6.      This Motion for Extension is not filed for the purpose of delay or harassment, and

will not cause any prejudice as Plaintiffs’ counsel have consented to it.

       WHEREFORE, the moving parties respectfully requests that this Court enter an

Order granting the moving parties an extension of time up to and including July 7, 2022, to

file their reply in support of the Motion to Compel Arbitration.




                                     -2-
         Case 4:19-cv-00332-SRB Document 818 Filed 06/29/22 Page 2 of 4
Dated: June 29, 2022                  Respectfully submitted,


                                      /s/ Danne W. Webb
                                      Danne W. Webb (MO #39384)
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                                      Counsel for Defendant RE/MAX, LLC




                                   -3-
       Case 4:19-cv-00332-SRB Document 818 Filed 06/29/22 Page 3 of 4
                                   CERTIFICATE OF SERVICE

       I hereby certify that on June 29, 2022, I electronically filed the foregoing document with

the Clerk of the Court using the CM/ECF system, which will send a notice of electronic filing to

counsel of record for this case.


                                                       /s/ Danne W. Webb
                                                       Danne W. Webb
                                                       Counsel for Defendant RE/MAX, LLC




         Case 4:19-cv-00332-SRB Document 818 Filed 06/29/22 Page 4 of 4
